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AO 458 (Rev. 06/09) Appearance of Counsel


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


             UNITED STATES OF AMERICA                          )
                              Plaintiff                        )
                                 v.                            )      Case No.    1:21-cv-03267-apm (D.D.C.)
        PROUD BOYS INTERNATIONAL, L.L.C.,                      )
                     et. al.,                                  )
                           Defendants
                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          DEFENDANT EDWARD VALLEJO                                                                                     .


Date:          02/27/2023
                                                                                         Attorney’s signature


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